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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                           FOR THE NINTH CIRCUIT
                                                                    OCT 13 2022
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




                                               No. 22-10000

 UNITED STATES OF AMERICA,
                                               D.C. Nos. 2:18-cr-00422-DJH-1,
                                               2:18-cr-00422-DJH-2,
               Plaintiff - Appellee,
                                               2:18-cr-00422-SMB-3,
                                               2:18-cr-00422-SMB-4,
   v.
                                               2:18-cr-00422-SMB-6,
                                               2:18-cr-00422-SMB-7
 MICHAEL LACEY; et al.,
                                               U.S. District Court for Arizona,
               Defendants - Appellants.        Phoenix

                                               MANDATE


        The judgment of this Court, entered September 21, 2022, takes effect this

date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: David J. Vignol
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
